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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

                Plaintiffs,
                                                 Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.

                Defendants.



          FEDERAL DEFENDANTS’ MOTION TO DISMISS OR, IN THE
                ALTERNATIVE, FOR SUMMARY JUDGMENT

         The federal defendants hereby move to dismiss the plaintiffs’ complaint pursuant to

Fed. R. Civ. P. 12, or, in the alternative, move for summary judgment on all claims pursuant

to Fed. R. Civ. P. 56. The reasons for this motion are set forth in the attached memorandum

of points and authorities and in the administrative record, the contents of which are listed in

the certified index materials previously filed with the Court pursuant to Local Rule 7(n).

Dated: April 25, 2018                              Respectfully submitted,

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                                                   Acting Assistant Attorney General

                                                   ETHAN P. DAVIS
                                                   Deputy Assistant Attorney General

                                                   JOEL McELVAIN
                                                   Assistant Branch Director
                                                   Federal Programs Branch

                                                   /s/ Deepthy Kishore                       -
                                                   DEEPTHY KISHORE
                                                   VINITA ANDRAPALLIYAL
                                                   Trial Attorneys
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